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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 __________   District
 Southern District     of __________
                   of New  York

 Case number (If known): _________________________ Chapter 15                                                                                              Check if this is an
                                                                                                                                                               amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                           12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name
                                            Three Arrows Capital, Ltd
                                           _____________________________________________________________________________________________




2.   Debtor’s unique identifier            For non-individual debtors:

                                                       Federal Employer Identification Number (EIN)             ___ ___ – ___ ___ ___ ___ ___ ___ ___

                                                  ✔
                                                                                                                BVI Company ID
                                                              Registration number is 1710531 Describe identifier _____________________________.
                                                        Other ___________________________.


                                           For individual debtors:

                                                       Social Security number:        xxx – xx– ____ ____ ____ ____

                                                       Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                       Other ___________________________. Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                      Russell Crumpler and Christopher Farmer
                                           ____________________________________________________________________________________________


4.   Foreign proceeding in which           Insolvency proceedings pending before the Eastern Caribbean Supreme Court in the High Court of Justice Virgin Islands,
                                           Commercial Division, under sections 159(1) and 162(1)(a) and (b) of the Insolvency Act 2003, Case No. BVIHCOM2022/0117
     appointment of the foreign            ____________________________________________________________________________________________
     representative(s) occurred

5.   Nature of the foreign
                                           Check one:
     proceeding
                                                 Foreign main proceeding
                                                 Foreign nonmain proceeding
                                           ✔
                                                 Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign               ✔
                                                 A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                                 A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.

                                                 Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  _______________________________________________________________________________________
                                                  _______________________________________________________________________________________


7.   Is this the only foreign                    No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the               ✔
     foreign representative(s)?
                                                 Yes




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Debtor          Three  Arrows Capital, Ltd
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                        British Virgin Islands
                                        ______________________________________________                   ABM Chambers
                                                                                                         ______________________________________________
                                                                                                         Number     Street

                                                                                                         P.O. Box 2283
                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         Road Town, Tortola, VG-1110
                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region ZIP/Postal Code


                                                                                                         British Virgin Islands
                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):

                                                                                                          c/o Teneo (BVI) Limited, 3rd Floor, Banco Popular
                                                                                                          Building
                                         _______________________________________________                 _______________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________                 Road Town, Tortola, VG-1110
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region ZIP/Postal Code


                                         _______________________________________________                 British Virgin Islands
                                                                                                         _______________________________________________
                                         Country                                                         Country




10.   Debtor’s website (URL)              https://www.threearrowscap.com
                                         ____________________________________________________________________________________________________




11.   Type of debtor                     Check one:
                                         ✔
                                               Non-individual (check one):
                                                 ✔
                                                     Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                     Partnership

                                                     Other. Specify: ________________________________________________

                                               Individual




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Debtor        Three  Arrows Capital, Ltd
              _______________________________________________________                        Case number (if known)_____________________________________
              Name




12.   Why is venue proper in this      Check one:
      district?                        ✔
                                            Debtor’s principal place of business or principal assets in the United States are in this district.
                                            Debtor does not have a place of business or assets in the United States, but the following
                                             action or proceeding in a federal or state court is pending against the debtor in this district:
                                             ___________________________________________________________________________.

                                            If neither box is checked, venue is consistent with the interests of justice and the convenience
                                             of the parties, having regard to the relief sought by the foreign representative, because:
                                             ___________________________________________________________________________.



13.   Signature of foreign
      representative(s)                I request relief in accordance with chapter 15 of title 11, United States Code.

                                       I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                       relief sought in this petition, and I am authorized to file this petition.

                                       I have examined the information in this petition and have a reasonable belief that the
                                       information is true and correct.

                                       I declare under penalty of perjury that the foregoing is true and correct,


                                       8 /s/ Russell Crumpler
                                            ________________________________________________          Russell Crumpler
                                                                                                      _______________________________________________
                                           Signature of foreign representative                        Printed name


                                       Executed on         07/01/2022
                                                           __________________
                                                            MM / DD / YYYY



                                       8 /s/ Christopher Farmer
                                            ________________________________________________          Christopher Farmer
                                                                                                      _______________________________________________
                                           Signature of foreign representative                        Printed name


                                       Executed on         07/01/2022
                                                           __________________
                                                            MM / DD / YYYY




14.   Signature of attorney
                                       8 /s/ Adam J. Goldberg
                                            _________________________________________________ Date                 07/01/2022
                                                                                                                   _________________
                                            Signature of Attorney for foreign representative                       MM   / DD / YYYY


                                           Adam   J. Goldberg
                                           _________________________________________________________________________________________________
                                           Printed name
                                           Latham   and Watkins LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           1271  Avenue of the Americas
                                           _________________________________________________________________________________________________
                                           Number         Street
                                           New  York
                                           ____________________________________________________ NY          10020
                                                                                                 __________________________________________
                                           City                                                            State         ZIP Code


                                           (212) 906-1200
                                           ____________________________________                            adam.goldberg@lw.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address




                                           4510871                                                NY
                                           ______________________________________________________ ____________
                                           Bar number                                                      State




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